             Case 1:19-cr-00488-RM Document 79 Filed 03/02/21 USDC Colorado Page 1 of 7
AO 245B (CO Rev. 11/20)     Judgment in a Criminal Case



                                       UNITED STATES DISTRICT COURT
                                                                 District of Colorado
                                                                            )
              UNITED STATES OF AMERICA                                      )    JUDGMENT IN A CRIMINAL CASE
                                 v.                                         )
                                                                            )
                     RICHARD HOLZER                                         )    Case Number:         1:19-cr-00488-RM-1
                                                                            )    USM Number:          45531-013
                                                                            )
                                                                            )    Mary Virginia Butterton and David Andrew Kraut
                                                                            )    Defendant’s Attorney
THE DEFENDANT:
‫ ܈‬pleaded guilty to count(s)      1 and 2 of the Indictment
‫ ܆‬pleaded nolo contendere to count(s)
  which was accepted by the court.
‫ ܆‬was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section              Nature of Offense                                                                         Offense Ended          Count
18 U.S.C. § 247(a)(2) and    Attempt to Obstruct Persons in the Enjoyment of Their Free Exercise of                       11/01/19              1
(d)(3)                       Religious Beliefs Through Force and Use of Explosives and Fire
18 U.S.C. § 844(i)           Attempt to Maliciously Damage and Destroy, by Means of Fire and                              11/01/19               2
                             Explosives, a Building Used in Interstate Commerce




    The defendant is sentenced as provided in pages 2 through                    7               of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
‫ ܆‬The defendant has been found not guilty on count(s)
‫ ܈‬Count(s) 3 of the Indictment                            ‫ ܈‬is     ‫܆‬    are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                       February 26, 2021
                                                                       Date
                                                                       Da
                                                                        ate
                                                                          te ooff Im
                                                                                  Impo
                                                                                  Imposition
                                                                                   mppoosition
                                                                                             n ooff Ju
                                                                                                    JJudgment
                                                                                                      udg
                                                                                                       dgme
                                                                                                       dg mentt




                                                                       Signature
                                                                       Sign
                                                                         ggnnatur
                                                                            n urre of Judge
                                                                                         gee




                                                                       Raymond P. Moore, United States District Judge
                                                                       Name and Title of Judge

                                                                         March 2, 2021
                                                                       Date
             Case 1:19-cr-00488-RM Document 79 Filed 03/02/21 USDC Colorado Page 2 of 7
AO 245B (CO Rev. 11/20) Judgment in Criminal Case

                                                                                                   Judgment — Page   2     of    7
 DEFENDANT:                   RICHARD HOLZER
 CASE NUMBER:                 1:19-cr-00488-RM-1

                                                           IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of: two hundred and
 thirty-five (235) months, as to each Count, to run concurrently.



      ‫܈‬    The court makes the following recommendations to the Bureau of Prisons:
           The Court recommends the defendant be designated to an institution within the District of Colorado.




      ‫܈‬    The defendant is remanded to the custody of the United States Marshal.

      ‫܆‬    The defendant shall surrender to the United States Marshal for this district:
           ‫܆‬      at                                      ‫܆‬      a.m. ‫܆‬         p.m.   on                                                  .
           ‫܆‬      as notified by the United States Marshal.

      ‫܆‬    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           ‫܆‬      before 2 p.m. on                                         .
           ‫܆‬      as notified by the United States Marshal.
           ‫܆‬      as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                            to

 at                                                 , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL



                                                                               By
                                                                                                 DEPUTY UNITED STATES MARSHAL
             Case 1:19-cr-00488-RM Document 79 Filed 03/02/21 USDC Colorado Page 3 of 7
AO 245B (CO Rev. 11/20) Judgment in Criminal Case

                                                                                                Judgment — Page     3      of         7
 DEFENDANT:                   RICHARD HOLZER
 CASE NUMBER:                 1:19-cr-00488-RM-1

                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: three (3) years to Count 1, and fifteen (15) years as to
Count 2, concurrent to Count 1.




                                                    MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and a maximum of 20 tests per year of supervision thereafter.
            ‫ ܆‬The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if applicable)
4.    ‫ ܆‬You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.    ‫ ܈‬You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    ‫ ܆‬You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    ‫ ܆‬You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
             Case 1:19-cr-00488-RM Document 79 Filed 03/02/21 USDC Colorado Page 4 of 7
AO 245B (CO Rev. 11/20) Judgment in Criminal Case

                                                                                                  Judgment — Page      4      of          7
 DEFENDANT:                   RICHARD HOLZER
 CASE NUMBER:                 1:19-cr-00488-RM-1

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may, after
      obtaining Court approval, notify the person about the risk or require you to notify the person about the risk and you must comply
      with that instruction. The probation officer may contact the person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
             Case 1:19-cr-00488-RM Document 79 Filed 03/02/21 USDC Colorado Page 5 of 7
AO 245B (CO Rev. 11/20) Judgment in Criminal Case

                                                                                                Judgment — Page      5     of          7
 DEFENDANT:                   RICHARD HOLZER
 CASE NUMBER:                 1:19-cr-00488-RM-1

                                          SPECIAL CONDITIONS OF SUPERVISION
     1.  You must participate in a program of mental health treatment approved by the probation officer and follow the rules and
         regulations of such program. The probation officer, in consultation with the treatment provider, will supervise your participation
         in the program as to modality, duration, and intensity. You must pay for the cost of treatment based on your ability to pay.
     2. You must submit your person, property, house, residence, vehicle and/or storage facilities to a search conducted by a United
         States probation officer. Failure to submit to search may be grounds for revocation of release. You must warn any other
         occupants that the premises may be subject to searches pursuant to this condition. An officer may conduct a search pursuant to
         this condition only when reasonable suspicion exists that you have violated a condition of your supervision and that the areas to
         be searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a reasonable manner.
     3. You must allow the probation officer to install software/hardware designed to monitor activities on any personally or family-
         owned, leased, or rented computer or Internet capable device you are authorized by the probation officer to use. This monitoring
         may record any and all activity on the device, including the capture of keystrokes, application information, Internet use history,
         email correspondence, and chat conversations. You must not attempt to remove, tamper with, reverse engineer, or in any way
         circumvent the software/hardware. Monitoring data or reports may be reviewed by the probation officer at any time to assure
         compliance with all special conditions of supervised release.
     4. Your use of personally or family-owned, leased, or rented computers and Internet capable devices will be limited to those
         computers and devices you request in advance to use and which the probation officer authorizes. Authorization of any such
         computer or device shall be based on the ability of the computer or device to be effectively monitored by monitoring
         software/hardware utilized by the Probation Office. You must disclose any username(s) or identification(s) and password(s) for
         all authorized computers or Internet capable devices to the probation officer and keep that disclosure complete and up to date.
     5. Your use of other computers and Internet capable devices is prohibited, except to the extent that such other computers or devices
         need to be accessed, (i) for emergencies; (ii), for completion of routine transactions at commercial, health, or religious “brick and
         mortar” establishments; (iii), for the completion of employment duties and responsibilities; (iv) for voting or census reporting; or
         (v) as otherwise approved by the probation officer. The probation officer shall approve use of such other computer or device,
         absent reasonable suspicion that you are using such computer or device to circumvent the monitoring of your personal or family
         owned, leased or rented computer or device.
     6. You may not create any social media account without, within 24 hours of creation, providing the probation officer with an
         identification of the account and all usernames, passwords and other information necessary to enable the probation officer to
         access the account. Any change in such information shall be reported to the probation officer within 24 hours. All such accounts
         shall be subject to search/review by a United States Probation Officer at any time.
     7. You may not post to the Internet (including any board, chat or community meeting room) or to any social media group or account
         any anti-Semitic statement, material or symbolism. Nor may you post (i) any statement, material or symbolism which supports,
         advocates, approves of, or endorses Adolph Hitler or Nazi ideology; or (ii) any statement, material or symbolism which supports,
         advocates, approves of, or endorses white supremacy. For purposes of this condition, "post" includes direct posting, any form of
         tagging, "liking," or otherwise showing agreement or approval of such posts of others, as well as reposting, linking to or
         otherwise directing others to such third-party posts.
     8. You shall not visit any Internet site which you know or have reason to believe supports, advocates, approves of, or endorses anti-
         Semitism or white supremacy.
     9. You shall not knowingly acquire, possess or otherwise use any photograph, flag, clothing, patch, imagery, jewelry, literature, or
         other material depicting support for or association with anti-Semitism or white supremacy. Specifically included in this
         prohibition, without limitation, are: Mein Kampf, swastikas, iron crosses, other Nazi memorabilia or symbolism; Thor's hammer;
         KKK symbolism; numeric symbols: 12, 14, 18, 88, 311, or 1488; the Aryan Fist; 14 words; the Celtic cross; the Sonnenrad; the
         Valknut; and the Blood Drop Cross.
     10. You shall not knowingly associate or have contact with any individual you know or have reason to believe is a member of any
         anti-Semitic or white supremacist group, association or organization. For purposes of this prohibition, "associate" and "have
         contact" include on-line and virtual association or contact.
     11. You shall not enter upon the grounds of any synagogue or Jewish Community Center.
             Case 1:19-cr-00488-RM Document 79 Filed 03/02/21 USDC Colorado Page 6 of 7
AO 245B (CO Rev. 11/20) Judgment in Criminal Case

                                                                                                      Judgment — Page   6       of         7
 DEFENDANT:                   RICHARD HOLZER
 CASE NUMBER:                 1:19-cr-00488-RM-1

                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on the following page.

                       Assessment                   Restitution            Fine                   AVAA Assessment*           JVTA Assessment**
TOTALS             $ 200.00                    $ 0.00                    $ 0.00              $ 0.00                     $ 0.00


‫ ܆‬The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be entered
  after such determination.

‫ ܆‬The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                     Total Loss***              Restitution Ordered            Priority or Percentage




TOTALS                                                        $                               $
‫ ܆‬Restitution amount ordered pursuant to plea agreement              $

‫ ܆‬The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
  fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the following page may be
  subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

‫ ܆‬The court determined that the defendant does not have the ability to pay interest and it is ordered that:

    ‫ ܆‬the interest requirement is waived for the            ‫ ܆‬fine       ‫ ܆‬restitution.

    ‫ ܆‬the interest requirement for the        ‫܆‬      fine     ‫ ܆‬restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Publ. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
             Case 1:19-cr-00488-RM Document 79 Filed 03/02/21 USDC Colorado Page 7 of 7
AO 245B (CO Rev. 11/20) Judgment in Criminal Case

                                                                                                          Judgment — Page        7      of           7
 DEFENDANT:                   RICHARD HOLZER
 CASE NUMBER:                 1:19-cr-00488-RM-1

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ‫ ܆‬Lump sum payment of $                                    due immediately, balance due

           ‫܆‬      not later than                                    , or
           ‫܆‬      in accordance with ‫܆‬        C,     ‫܆‬      D,      ‫ ܆‬E, or ‫܆‬           F below; or

B     ‫ ܈‬Payment to begin immediately (may be combined with ‫ ܆‬C,                         ‫܆‬     D, or     ‫܆‬       F below); or

C     ‫ ܆‬Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                           (e.g., 30 or 60 days) after the date of this judgment; or

D     ‫ ܆‬Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                           (e.g., months or years), to commence                           (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     ‫ ܆‬Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     ‫ ܆‬Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

‫܆‬     Joint and Several
      Case Number
      Defendant and Co-Defendant Names                                                                                       Corresponding Payee, if
      (including defendant number)                               Total Amount            Joint and Several Amount                  appropriate




‫܆‬     The defendant shall pay the cost of prosecution.

‫܆‬     The defendant shall pay the following court cost(s):

‫܈‬     The defendant shall forfeit the defendant’s interest in the following property to the United States:
      The items previously agreed to forfeit as attached to the Plea Agreement (Doc. No. 38)




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
